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                                                              USDCSDNY
UNITED STATES DISTRICT COURT
                                                              DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                 ELEcrRONICALLY FILED
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SHU LAN CHEN,
                                                              DATE FILED:=   Vftft£       J

                                    Plaintiff,                15 Civ. 2520   (HBP)

        -against-                                             OPINION
                                                              AND ORDER
GYPSOPHILA NAIL & SPA INC.,
et al.,

                                    Defendants.

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                   PITMAN, United States Magistrate Judge:


                   This matter is before me on the parties' joint

application to approve the settlement reached in this matter.

The parties have consented to my exercising plenary jurisdiction

pursuant to 28 U.S.C.                     §   636(c).

                   This is an action for allegedly unpaid wages, overtime

and spread-of-hours pay brought under the Fair Labor Standards

Act ("FLSA"), 29 U.S.C.                       §§   201 et seq. and the New York Labor

Law.         Plaintiff was formerly employed as a manicurist in a small

nail salon operated by defendants.                        Defendants claim that

plaintiff was paid all the amounts she was due; defendants also

contend that their annual gross sales do not reach the $500,000

threshold that must be met before the FLSA is applicable.                            29

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               Exclusive of liquidated damages, plaintiff claims she

is owed $5,416.05 in unpaid wages and overtime, $1,288.75 in

unpaid "spread of hours" pay, 12 N.Y.C.R.R.              §   146-1.6 and $2,500

for wage notice violations, N.Y. Labor L.            §   198.    Thus, exclusive

of liquidated damages, plaintiff's alleged damages are $9,204.80.

The gross settlement amount is $17,000.00 1 and the parties'

settlement provides that this amount will be allocated as

follows:        (1)    approximately $600.00 will be deducted by counsel

as reimbursement for the filing fee and the fee to serve the

complainti       (2)   one-third of the remainder of 16,400.00, or

$5,467.00, will be paid to plaintiff's counsel for his fee and

(3)   the remainder, or $10,933.00, will be paid to plaintiff.               The

foregoing settlement was reached after a lengthy settlement

conference that I conducted on September 11, 2015 and that was

attended by counsel and the principals.

                    Court approval of an FLSA settlement is
               appropriate "when [the settlement] [is] reached as a
               result of contested litigation to resolve bona fide
               disputes." Johnson v. Brennan, No. 10 Civ. 4712, 2011
               WL 4357376, at *12 (S.D.N.Y. Sept. 16, 2011).  "If the
               proposed settlement reflects a reasonable compromise
               over contested issues, the court should approve the


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      The parties agreed that this sum will be paid in
installments as follows:   (1) $3,000.00 will be paid upon the
execution of the settlement agreement and (2) $2,000.00 will be
paid every thirty days thereafter until the total sum of
$17,000.00 has been paid.   Unpaid installments will be secured by
a confession of judgment.

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           settlement." Id. (citing Lynn's Food Stores, Inc. v.
           United States, 679 F.2d 1350, 1353 n. 8 (11th
           Cir.1982)).

Agudelo v. E & D LLC, 12 Civ. 960       (HB), 2013 WL 1401887 at *1

(S.D.N.Y. Apr. 4, 2013)    (Baer, D.J.).    "Typically, courts regard

the adversarial nature of a litigated FLSA case to be an adequate

indicator of the fairness of the settlement."         Beckman v.

Keybank, N.A., 293 F.R.D. 467, 476       (S.D.N.Y. 2013)   (Ellis, M.J.),

citing Lynn's Food Stores, Inc. v. United States, 679 F.2d 1350,

1353-54 (11th Cir.1982).

           I conclude that the settlement reached by the parties

is fair and reasonable.     Plaintiff has no written records of the

hours that she worked.     Although plaintiff's recollection of her

hours is sufficient to prove the hours that she worked, Anderson

v. Mt. Clemens Pottery Co., 328 U.S. 680, 687        (1946), superseded

Qy statute, Portal-to-Portal Act of 1947, 29 U.S.C.         §   216(b)

(2006), as recognized in Gorman v. Consol. Edison Corp., 488 F.3d

586, 590   (2d Cir. 2007), her recollection is not binding on the

fact finder.   Given plaintiff's interest in the outcome, it is

probable that the fact finder would apply some discount factor to

her claimed hours.    Nevertheless, the settlement gives her more

than her claimed actual damages.

           In addition, although the settlement does not award

plaintiff all of the liquidated damages to which she may be

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entitled, the fact that the settlement awards more than one

hundred cents for each dollar of actual damages means that

plaintiff will be receiving some liquidated damages.

             The fact that the matter is being resolved by way of

settlement also eliminates the burden and uncertainty of collec-

tion proceedings.

             Finally, at the settlement conference, counsel for both

sides demonstrated a mastery of the evidence and pertinent legal

principlesi counsel for both sides also represented their respec-

tive clients zealously.

             Given the conflicting evidence, the quality of the

evidence and counsel and the allocation of the burden of proof on

plaintiffs, the settlement represents a reasonable compromise

with respect to contested issues.          I, therefore, approve it.

Reyes v. Altamarea Group, LLC, 10 Civ. 6451               (RLE), 2011 WL

4599822 at *6 (S.D.N.Y. Aug. 16, 2011)               (Ellis, M.J.)

Dated:     New York, New York
           September 16, 2015

                                           SO ORDERED


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                                           HENRY PITMAN
                                           United States Magistrate Judge




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Copies transmitted to:

All Counsel




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